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                                         #:9567



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 8                         UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
 9                              SOUTHERN DIVISION

10                                       §
      ENTROPIC COMMUNICATIONS, LLC, §
11               Plaintiff,              §
                                         §             Case No. 2:23-cv-01043-JWH-KES
12            v.                         §               LEAD CASE
                                         §             Case No. 2:23-cv-01049-JWH-KES
13    DISH NETWORK CORPORATION,          §               LEAD CASE
      et al.,                            §
14               Defendants.             §
      __________________________________ §             Hon. John W. Holcomb
15                                       §             Special Master David M. Keyzer
      ENTROPIC COMMUNICATIONS, LLC, §
16               Plaintiff,              §
                                         §             NOTICE OF
17            v.                         §             SPECIAL MASTER ORDER
                                         §
18    COX COMMUNICATIONS, INC., et al., §
                 Defendants.             §
19                                       §

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                                  NOTICE OF SPECIAL MASTER ORDER - 1
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                                          #:9568



 1          Pursuant to the Court’s July 5, 2023 Order Appointing David Keyzer, Esq. as

 2    Special Master for Discovery Purposes (Civil Action No. 2:23-cv-1043, Dkt. 74; Civil

 3    Action No. 2:23-cv-1049, Dkt. 62), and further pursuant to the Court’s grant of

 4    consolidations (Civil Action No. 2:23-cv-1043, Dkt. 129, Oct. 13, 2023 Order; Civil

 5    Action No. 2:23-cv-1049, Dkt. 95, Oct. 16, 2023 Order), the Special Master attaches

 6    hereto the Special Master Order No. SM-19.

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 9    Dated:    May 16, 2024                By:       /s/ David Keyzer
                                                   David M. Keyzer
10                                                 California Bar No. 248585
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14                                                 Special Master

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                                  NOTICE OF SPECIAL MASTER ORDER - 2
